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                    EXHIBIT Q




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                                           Healthvana Hydro Clean Hand Sanitizer



                  Most consumer antiseptic rubs are made from one of three FDA listed active ingredients -
                   alcohol (ethanol or ethyl alcohol), isopropyl alcohol, and benzalkonium chloride.
                  Alcohol based sanitizers tend to dry your hands and the manufacturer is required to possess
                   HAZMAT certification for shipping to retailers.



                  HEALTHVANA’s HYDRO CLEAN Hand Sanitizer is Alcohol Free!
                  Hydro Clean contains an FDA listed antimicrobial active ingredient - 0.13% Benzalkonium
                   Chloride
                  Benzalkonium Chloride kills 99.9% of germs
                  Hydro Clean’s formula includes moisturizing ingredients Hemp Seed Oil, Aloe Vera, Coconut Oil ,
                   and Hyaluronic Acid).
                  Hydro Clean provides extended protection is fragrance free
                  Hydro Clean Sanitizes and Moisturizes your hands!




Confidential                                                                                                         TB001303
